                                         Case 4:17-cv-05015-HSG Document 156 Filed 11/20/18 Page 1 of 4




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     THELONIOUS MONK, JR.,                              Case No. 17-cv-05015-HSG
                                   8                    Plaintiff,                          ORDER GRANTING MOTIONS TO
                                                                                            SEAL
                                   9             v.

                                  10                                                        Re: Dkt. Nos. 101, 110, 112, 116, 118, 132,
                                         NORTH COAST BREWING CO. INC.,
                                                                                            138
                                  11                    Defendant.

                                  12          Pending before the Court are the parties’ administrative motions to seal various documents
Northern District of California
 United States District Court




                                  13   pursuant to Civil Local Rule 79-5. See Dkt. Nos. 101, 110, 112, 116, 118, 132, 138.

                                  14     I.   LEGAL STANDARD
                                  15          Courts generally apply a “compelling reasons” standard when considering motions to seal

                                  16   documents. Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 678 (9th Cir. 2010) (quoting Kamakana

                                  17   v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)). “This standard derives from

                                  18   the common law right ‘to inspect and copy public records and documents, including judicial

                                  19   records and documents.’” Id. (quoting Kamakana, 447 F.3d at 1178). “[A] strong presumption in

                                  20   favor of access is the starting point.” Kamakana, 447 F.3d at 1178 (quotation omitted). To

                                  21   overcome this strong presumption, the party seeking to seal a judicial record attached to a
                                       dispositive motion must “articulate compelling reasons supported by specific factual findings that
                                  22
                                       outweigh the general history of access and the public policies favoring disclosure, such as the
                                  23
                                       public interest in understanding the judicial process” and “significant public events.” Id. at 1178–
                                  24
                                       79 (quotation omitted). “In general, ‘compelling reasons’ sufficient to outweigh the public’s
                                  25
                                       interest in disclosure and justify sealing court records exist when such ‘court files might have
                                  26
                                       become a vehicle for improper purposes,’ such as the use of records to gratify private spite,
                                  27
                                       promote public scandal, circulate libelous statements, or release trade secrets.” Id. at 1179
                                  28
                                         Case 4:17-cv-05015-HSG Document 156 Filed 11/20/18 Page 2 of 4




                                   1   (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)). “The mere fact that the

                                   2   production of records may lead to a litigant’s embarrassment, incrimination, or exposure to further

                                   3   litigation will not, without more, compel the court to seal its records.” Id.

                                   4          The Court must “balance[] the competing interests of the public and the party who seeks to

                                   5   keep certain judicial records secret. After considering these interests, if the court decides to seal

                                   6   certain judicial records, it must base its decision on a compelling reason and articulate the factual

                                   7   basis for its ruling, without relying on hypothesis or conjecture.” Id. Civil Local Rule 79-5

                                   8   supplements the compelling reasons standard set forth in Kamakana: the party seeking to file a
                                       document or portions of it under seal must “establish[] that the document, or portions thereof, are
                                   9
                                       privileged, protectable as a trade secret or otherwise entitled to protection under the law . . . The
                                  10
                                       request must be narrowly tailored to seek sealing only of sealable material.” Civil L.R. 79-5(b).
                                  11
                                              Records attached to nondispositive motions, however, are not subject to the strong
                                  12
Northern District of California
 United States District Court




                                       presumption of access. See Kamakana, 447 F.3d at 1179. Because such records “are often
                                  13
                                       unrelated, or only tangentially related, to the underlying cause of action,” parties moving to seal
                                  14
                                       must meet the lower “good cause” standard of Rule 26(c) of the Federal Rules of Civil Procedure.
                                  15
                                       Id. at 1179–80 (quotation omitted). This requires only a “particularized showing” that “specific
                                  16
                                       prejudice or harm will result” if the information is disclosed. Phillips ex rel. Estates of Byrd v.
                                  17
                                       Gen. Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002); see also Fed. R. Civ. P. 26(c).
                                  18
                                       “Broad allegations of harm, unsubstantiated by specific examples of articulated reasoning” will
                                  19
                                       not suffice. Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992) (quotation
                                  20
                                       omitted).
                                  21
                                        II.   DISCUSSION
                                  22
                                              The various documents and portions of documents the parties seek to seal are more than
                                  23
                                       tangentially related to the underlying cause of action, and the Court therefore applies the
                                  24
                                       “compelling reasons” standard. The parties have provided a compelling interest in sealing
                                  25
                                       portions of the various documents listed below because they contain confidential business and
                                  26
                                       financial information relating to the operations of the Monk Estate, North Coast Brewing
                                  27
                                       Company, Inc., and non-party the Thelonious Monk Institute of Jazz. See In re Elec. Arts, Inc.,
                                  28
                                                                                          2
                                         Case 4:17-cv-05015-HSG Document 156 Filed 11/20/18 Page 3 of 4




                                   1   298 F. App’x 568, 569 (9th Cir. 2008) (ordering sealing where documents could be used “‘as

                                   2   sources of business information that might harm a litigant’s competitive standing’”) (quoting

                                   3   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); see also Linex Techs., Inc. v.

                                   4   Hewlett-Packard Co., No. C 13-159 CW, 2014 WL 6901744 (N.D. Cal. Dec. 8, 2014) (holding

                                   5   sensitive financial information falls within the class of documents that may be filed under seal);

                                   6   Apple Inc. v. Samsung Elecs. Co., Ltd., No. 11-CV-01846-LHK, 2012 WL 6115623 (N.D. Cal.

                                   7   Dec. 10, 2012). The parties have identified portions of the unredacted versions of motions and

                                   8   exhibits as containing confidential business information and the Court finds sufficiently

                                   9   compelling reasons to grant the motions to file the below-indicated portions under seal.

                                  10          The parties request the following portions of the various documents be sealed:

                                  11
                                            Dkt. No.                Document                   Portion(s) Sought to be      Ruling (basis)
                                  12
Northern District of California




                                         Public/(Sealed)                                                Sealed
 United States District Court




                                  13    101-3/(101-4)       Exhibit 2 to Defendant’s          Proposed redactions in       GRANTED
                                                            Motion to Exclude Expert          Dkt. No. 101-4
                                  14                        Testimony
                                        101-5/(101-6)       Exhibit 6 to Defendant’s          Proposed redactions in       GRANTED
                                  15                        Motion to Exclude Expert          Dkt. No. 101-6
                                                            Testimony
                                  16
                                        110-3/(110-4)       Opposition to Defendant’s         Value of royalty income at   GRANTED
                                  17                        Daubert Motion to Exclude         8:19
                                                            Expert Testimony
                                  18    112-3/(112-4)       Deposition of Douglas             Deposition testimony at      GRANTED
                                                            Moody                             160:2–21, 161:7–24;
                                  19                                                          Deposition Exhibit 13
                                  20    112-5/(112-6)       Deposition of Gale Monk           Deposition testimony at      GRANTED
                                                                                              20:9; account number in
                                  21                                                          Deposition Exhibit 56
                                        112-7/(112-8)       Deposition of Denise Pruitt       Names in Exhibit 95          GRANTED
                                  22    116-3/(116-4)       Reply Memorandum in               Deposition exhibit           GRANTED
                                                            Support of Motion for             quotation at 8:7–9
                                  23
                                                            Summary Judgment
                                  24    116-5/(116-6)       Exhibit 27                        Proposed redactions in       GRANTED
                                                                                              Dkt. No. 116-6
                                  25    116-7/(116-8)       Exhibit 28                        Proposed redactions in       GRANTED
                                                                                              Dkt. No. 116-8
                                  26
                                        116-9/(116-10)      Exhibit 29                        Proposed redactions in       GRANTED
                                  27                                                          Dkt. No. 116-10
                                        116-11/(116-12)     Exhibit 30                        Proposed redactions in       GRANTED
                                  28                                                          Dkt. No. 116-12
                                                                                          3
                                         Case 4:17-cv-05015-HSG Document 156 Filed 11/20/18 Page 4 of 4



                                       116-13/(116-14)     Exhibit 31                       Proposed redactions in     GRANTED
                                   1                                                        Dkt. No. 116-14
                                   2   116-15/(116-16)     Exhibit 32                       Proposed redactions in     GRANTED
                                                                                            Dkt. No. 116-16
                                   3   116-17/(116-18)     Exhibit 33                       Proposed redactions in     GRANTED
                                                                                            Dkt. No. 116-18
                                   4   118-3/(118-4)       Exhibit 16 in Support of         Redacted version in Dkt.   GRANTED
                                   5                       Motion to Exclude Expert         No. 118-3
                                                           Testimony
                                   6   132-3/(132-4)       Exhibit 3 to Motion in           Entire exhibit             GRANTED
                                                           Limine No. 1
                                   7   138-3/(138-4)       Exhibit A to Opposition to       Entire exhibit             GRANTED
                                                           Motion in Limine No. 1
                                   8
                                       138-5/(138-6)       Exhibit B to Opposition to       Entire exhibit             GRANTED
                                   9                       Motion in Limine No. 1
                                       138-7/(138-8)       Exhibit C to Opposition to       Proposed redactions in     GRANTED
                                  10                       Motion in Limine No. 1           Dkt. No. 138-8
                                  11   III.   CONCLUSION
                                  12          For the foregoing reasons, the Court GRANTS the motions to seal Dkt. Nos. 101, 110,
Northern District of California
 United States District Court




                                  13   112, 116, 118, 132, and 138. Pursuant to Civil Local Rule 79-5(f)(1), documents filed under seal

                                  14   as to which the administrative motions are granted will remain under seal. The public will have

                                  15   access only to the redacted versions accompanying the administrative motions.

                                  16          IT IS SO ORDERED.

                                  17   Dated: 11/20/2018

                                  18                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                  19                                                    United States District Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                        4
